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13   Attorneys for Defendant
     NAVIHEALTH, INC.
14

15                           UNITED STATES DISTRICT COURT
16                         CENTRAL DISTRICT OF CALIFORNIA
17   ANDREA MRAZ,                                Case No. 2:19-cv-05215 PSG (AFMx)
18                   Plaintiff,                  District Judge: Philip S. Gutierrez
                                                 Magistrate Judge: Alexander F.
19   v.                                          MacKinnon
20                                               JOINT STIPULATION FOR
     NAVIHEALTH, INC.; DOES 1-20,                DISMISSAL PURSUANT TO FRCP
21   inclusive,                                  RULE 41(A)(1)(A)(2) ; ORDER
22                   Defendant.
                                                 Action Filed: June 14, 2019
23

24
                                         STIPULATION
25
           Pursuant to F.R.CIV.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and between
26
     the parties hereto that this action may be dismissed with prejudice as to all parties;
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28                         JOINT STIPULATION FOR DISMISSAL
                                                                2:19-cv-05215 PSG (AFMx)
Case 2:19-cv-05215-PSG-AFM Document 28 Filed 11/09/20 Page 2 of 3 Page ID #:143



 1   each party to bear his/her/its own attorneys’ fees and costs. This stipulation is made as
 2   the matter has been resolved to the satisfaction of all parties.
 3   Dated: September 28, 2020
 4
                                                  /s/ Dana L. Douglas
 5                                                DANA L. DOUGLAS
                                                  THE DOUGLAS LAW GROUP
 6                                                Attorneys for Plaintiff
                                                  ANDREA MRAZ
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 9
     Dated: September , 2020
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11                                                /s/ Stacey E. James
                                                  JENNIFER ROBINSON
12                                                STACEY E. JAMES
                                                  LITTLER MENDELSON, P.C.
13                                                Attorneys for Defendant
                                                  NAVIHEALTH, INC.
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                                                     IT IS SO ORDERED.
18                                                          11/09/2020
                                                  DATED: _______________
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                                                   U.S. DISTRICT JUDGE
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28                          JOINT STIPULATION FOR DISMISSAL
                                                2.               2:19-cv-05215 PSG (AFMx)
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 1                             SIGNATURE CERTIFICATION
 2         I hereby certify that the content of this document is acceptable to Stacey E.
 3   James, counsel for naviHealth, Inc., and that I have obtained Ms. James’ authorization
 4   to affix her electronic signature to this document.
 5   Dated: September 28, 2020
 6
                                                 /s/ Dana L. Douglas
 7                                               DANA L. DOUGLAS
                                                 THE DOUGLAS LAW GROUP
 8                                               Attorneys for Plaintiff
                                                 ANDREA MRAZ
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28                         JOINT STIPULATION FOR DISMISSAL
                                               3.             2:19-cv-05215 PSG (AFMx)
